













NUMBER 13-09-00387-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


______________________________________________________________

	

CALVIN HODDY HANNAH, JR., 	Appellant,


v.



TEXAS DEPARTMENT OF PUBLIC SAFETY,	Appellee. 

_____________________________________________________________


On appeal from the 9th District Court 


of Montgomery County, Texas.


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MEMORANDUM OPINION


	

Before Justices Rodriguez, Garza, and Vela


Memorandum Opinion Per Curiam


	Appellant, Calvin Hoddy Hannah, Jr., perfected an appeal from a judgment rendered
against him in favor of appellee, Texas Department of Public Safety.   On July 23, 2009,
the Clerk of this Court notified appellant that the clerk's record in the above cause was
originally due on July 14, 2009, and that the deputy district clerk, Bobbye Miller, had
notified this Court that appellant failed to make arrangements for payment of the clerk's
record.  The Clerk of this Court notified appellant of this defect so that steps could be taken
to correct the defect, if it could be done.  See Tex. R. App. P. 37.3, 42.3(b),(c).   Appellant
was advised that, if the defect was not corrected within ten days from the date of receipt
of this notice, the appeal would be dismissed for want of prosecution.  

	Appellant has failed to respond to this Court's notice.  Accordingly, the appeal is
DISMISSED FOR WANT OF PROSECUTION.  See Tex. R. App. P. 42.3(b), (c). 	


									PER CURIAM

Memorandum Opinion delivered and 

filed this 25th day of August, 2009. 





	


